  JS 44 (Rev. 11/04)                                                  CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
I. (a) PLAINTIFFS                                                                                  DEFENDANTS
Andrea McKinley                                                                                    UBS Financial Services, Inc.


       (b)   County of Residence of First Listed Plaintiff                                         County of Residence of First Listed
                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                               LAND INVOLVED.
    (c) Attorney’s (Firm Name, Address, and Telephone Number)                                      Attorneys (If Known)
Eric Spengler, Esq.                                                                                Stephen D. Dellinger
Spengler Agans Bradley, PLLC                                                                       Littler Mendelson, PC
325 N. Caswell Road                                                                                Bank of America Corporate Center, 100 N. Tryon St, Suite 4150
Charlotte, NC 28204                                                                                Charlotte, NC 28202

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                  (For Diversity Cases Only)                                     and One Box for Defendant)
                                                                                                                         PTF        DEF                                          PTF      DEF
   1     U.S. Government            3 Federal Question                                        Citizen of This State         1         1    Incorporated or Principal Place         4         4
          Plaintiff                      (U.S. Government Not a Party)                                                                          of Business In This State

   2     U.S. Government            4 Diversity                                               Citizen of Another State      2         2    Incorporated and Principal Place          5          5
          Defendant                    (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                              Citizen or Subject of a       3         3    Foreign Nation                            6          6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
             CONTRACT                                         TORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                   OTHER STATUTES
   110 Insurance                       PERSONAL INJURY               PERSONAL INJURY                 610 Agriculture                 422 Appeal 28 USC 158           400 State Reapportionment
   120 Marine                          310 Airplane                   362 Personal Injury—           620 Other Food & Drug           423 Withdrawal                  410 Antitrust
   130 Miller Act                      315 Airplane Product               Med. Malpractice           625 Drug Related Seizure            28 USC 157                  430 Banks and Banking
   140 Negotiable Instrument               Liability                  365 Personal Injury —              of Property 21 USC 881                                      450 Commerce
   150 Recovery of Overpayment         320 Assault, Libel &               Product Liability          630 Liquor Laws                PROPERTY RIGHTS                  460 Deportation
       & Enforcement of Judgment           Slander                    368 Asbestos Personal          640 R.R. & Truck                                                470 Racketeer Influenced and
   151 Medicare Act                                                                                  650 Airline Regs.               820 Copyrights                      Corrupt Organizations
                                       330 Federal Employers’             Injury Product
   152 Recovery of Defaulted                                                                         660 Occupational                830 Patent                      480 Consumer Credit
                                           Liability                      Liability
       Student Loans                                                                                     Safety/Health               840 Trademark                   490 Cable/Sat TV
                                       340 Marine                   PERSONAL PROPERTY
       (Excl. Veterans)                345 Marine Product                                            690 Other                                                       810 Selective Service
                                                                      370 Other Fraud
   153 Recovery of Overpayment             Liability                                                                                                                 850 Securities/Commodities/
                                                                      371 Truth in Lending                   LABOR                  SOCIAL SECURITY
       of Veteran’s Benefits           350 Motor Vehicle                                                                                                                 Exchange
                                                                      380 Other Personal
   160 Stockholders’ Suits             355 Motor Vehicle                                             710 Fair Labor Standards        861 HIA (1395ff)                875 Customer Challenge
                                                                          Property Damage
   190 Other Contract                      Product Liability                                             Act                         862 Black Lung (923)                12 USC 3410
                                                                      385 Property Damage
   195 Contract Product Liability      360 Other Personal Injury                                     720 Labor/Mgmt. Relations       863 DIWC/DIWW (405(g))          890 Other Statutory Actions
                                                                          Product Liability
   196 Franchise                                                                                     730 Labor/Mgmt.Reporting        864 SSID Title XVI              891 Agricultural Acts
        REAL PROPERTY                   CIVIL RIGHTS                PRISONER PETITIONS                   & Disclosure Act            865 RSI (405(g))                892 Economic Stabilization Act
                                                                                                     740 Railway Labor Act                                           893 Environmental Matters
   210 Land Condemnation               441 Voting                     510 Motions to Vacate          790 Other Labor Litigation                                      894 Energy Allocation Act
   220 Foreclosure                     442 Employment                     Sentence                   791 Empl. Ret. Inc.            FEDERAL TAX SUITS                895 Freedom of Information
   230 Rent Lease & Ejectment          443 Housing/                   Habeas Corpus:                     Security Act                                                    Act
   240 Torts to Land                       Accommodations             530 General                                                    870 Taxes (U.S. Plaintiff
                                                                                                                                                                     900Appeal of Fee Determination
   245 Tort Product Liability          444 Welfare                    535 Death Penalty                                                  or Defendant)                   Under Equal Access
   290 All Other Real Property         445 Amer. w/Disabilities -     540 Mandamus & Other                                           871 IRS—Third Party                 to Justice
                                          Employment                  550 Civil Rights                                                   26 USC 7609                 950 Constitutionality of
                                       446 Amer. w/Disabilities –     555 Prison Condition                                                                               State Statutes
                                          Other
                                       440 Other Civil Rights

 V. ORIGIN             (Place an “X” in One Box Only)                                                           Transferred from                                           Appeal to District
       1 Original          2 Removed from               3 Remanded from                4 Reinstated or         5 another district           6 Multidistrict              7 Judge from
         Proceeding          State Court                  Appellate Court                Reopened                (specify)                    Litigation                   Magistrate
                                                                                                                                                                           Judgment
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         42 U.S.C.§§ 12101
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Plaintiff alleges disability disrimination
VII. REQUESTED IN                         CHECK IF THIS IS A CLASS ACTION                      DEMAND $50,000.00                                 CHECK YES only if demanded in complaint:
      COMPLAINT:                          UNDER F.R.C.P. 23                                                                                      JURY DEMAND:           Yes      No
VIII. RELATED CASE(S)                      (See instructions):
      IF ANY                                                     JUDGE                                                            DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
05/21/2021
FOR OFFICE USE ONLY

RECEIPT #                        AMOUNT                            APPLYING IFP                       JUDGE                                     MAG. JUDGE


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JS 44 Reverse (Rev. 11/04)

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                   Authority For Civil Cover Sheet
The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.
         (b.) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS-44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.     Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
 the most definitive.
V.      Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a) Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.           Example:                 U.S. Civil Statute: 47 USC 553
                                                     Brief Description: Unauthorized reception of cable service
VII.    Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS-44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.
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